 Case: 1:06-cr-00030-AET-GWC            Document #: 631         Filed: 01/15/09   Page 1 of 2




                     DISTRICT COURT OF THE VIRGIN ISLANDS

                                 DIVISION OF ST. CROIX
                                          5
UNITED STATES OF AMERICA,                 5
                                          5
                        Plaintiff,        5                 2006-CR-0030-07
      v.                                  5
                                          5
BLAINE CLAXTON,                           5
                                          5
                        Defendant.        5
__________________________________________5



TO:    Alphonso G. Andrews, Jr., Esq., AUSA
       Martial A. Webster, Sr., Esq.



               ORDER DENYING MOTION FOR RECONSIDERATION

       THIS MATTER came before the Court upon the government’s Motion For

Reconsideration (Docket No. 622). This order is issued without necessity of response.

       The government seeks reconsideration of the Court’s Order (Docket No. 619),

entered December 26, 2008, denying its Motion to Re-Open Detention Hearing. The

government alleges that the “main basis for motion re-open was the fact that Claxton has

been convicted of a felony drug offense (in a separate matter) subsequent to this Court

placing him on release.” Motion at 1. Then asserts that the “Court’s order did not address

this basis (i.e., the main basis) for detention.” Id. at 1-2.
 Case: 1:06-cr-00030-AET-GWC                Document #: 631   Filed: 01/15/09   Page 2 of 2



United States v. Claxton
2006-CR-0030-07
Order Denying M otion For Reconsideration
Page 2



       In its order, however, the Court stated, “In addition, the Court finds that the

government has failed to produce any other evidence that demonstrates that the conditions

of Defendant’s pre-trial release fails to reasonably assure his appearance as required or the

safety of the community.” Order at 2. The Court considered the government’s evidence

and found that it failed to demonstrate that detention was required.

       Accordingly, it is now hereby ORDERED that the government’s Motion For

Reconsideration (Docket No. 622) is DENIED.

                                                     ENTER:



Dated: January 15, 2009                                            /s/
                                                     GEORGE W. CANNON, JR.
                                                     U.S. MAGISTRATE JUDGE
